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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION
MARTHA S. MUHAMMAD,                       )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )   Case No.: 2:16-cv-01206-SGC
                                          )
WENDY RICE, et al.,                       )
                                          )
      Defendants.                         )

                          MEMORANDUM OPINION
      Before the undersigned are the parties’ briefs on the issue of subject matter

jurisdiction. (Docs. 35, 36). For the reasons discussed below, this district court

lacks subject matter jurisdiction over the plaintiff’s claims. Accordingly, this

action is due to be dismissed without prejudice.

I. Procedural History

      Martha S. Muhammad commenced this action individually and as the

administrator of the Estate of Ayatollah Khomeini Muhammad. (Doc. 1). In those

capacities, she asserts claims for wrongful death, negligent supervision, and loss of

consortium against the defendants, C.R., a minor, and Wendy and Brian Rice,

individually and as next friend of C.R. (Id.). Federal subject matter jurisdiction is

premised on diversity of citizenship. (Id. at ¶ 2). To that end, the complaint

alleges Martha S. Muhammad (the “plaintiff”) is a citizen of Georgia (id. at ¶ 4),

Ayatollah Khomeini Muhammad (the “decedent”) was a citizen of Georgia (id. at ¶
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5), the defendants are citizens of Alabama (id. at ¶¶ 6-8), and the amount in

controversy exceeds $75,000 (id. at ¶ 2). In their answer, the defendants deny the

existence of diversity jurisdiction on the ground the decedent was not of diverse

citizenship from the defendants. (Doc. 6 at ¶ 2, ¶ 5, p. 4). Consistent with the

obligation of a district court to ensure its subject matter jurisdiction at all times, by

an order dated September 11, 2018, the undersigned directed the Clerk to terminate

the parties’ pending motions for summary judgment addressing the merits of the

plaintiff’s claims and directed the parties to brief the issue of subject matter

jurisdiction. (Doc. 34). The defendants submitted their brief on September 24,

2018 (Doc. 35),1 and the plaintiff submitted her brief on September 25, 2018 (Doc.

36).

II. Facts2

       The decedent is the plaintiff’s son. (Doc. 36-1 at 5-7). He was shot and

killed in Blount County, Alabama on July 23, 2014. (Id.). Details for a criminal

harassment case to which he pleaded guilty in the District Court of Jefferson

County, Alabama in December 2004 identify 2600 Sweeney Hollow Road or 428

Plaza Drive, both in Birmingham, Alabama, as his address at that time and reflect


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  The defendants’ brief was docketed as a motion to dismiss for lack of jurisdiction. (Doc. 35).
The Clerk is DIRECTED to TERM the motion.
2
  The undersigned considers the evidence presented by the parties in the form of affidavits and
other documents. Unsworn statements contained in briefs are not evidence of citizenship for
purposes of establishing diversity. Travaglio v. Am. Exp. Co., 735 F.3d 1266, 1269 (11th Cir.
2013)
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he held an Alabama driver’s license. (Doc. 35-5 at 2). Case details for a traffic

violation to which he pleaded guilty in the Sumiton, Alabama Municipal Court in

August 2012 identify 9600 Bradford Trafford Road in Warrior, Alabama as his

address at that time and record he held an Alabama driver’s license. (Doc. 35-4 at

2). A marriage certificate issued to the decedent and Wendy Rice by the Probate

Court of Jefferson County, Alabama in April 2013 identifies Birmingham,

Alabama as the decedent’s residence. (Doc. 35-3 at 2). Wendy Rice attests that

through December 2013, she and the decedent resided at a rental property in

Oneonta, Blount County, Alabama. (Doc 35-1 at 3). A traffic citation issued to

the decedent in Alabama by the Jefferson County Sheriff’s Office on June 26,

2014, identifies 2345 7th Place N.W., Apt. K in Birmingham, AL as his address3

and records he held an Alabama driver’s license. (Doc. 35-2 at 2). Wendy Rice

attests that for 7-10 days immediately preceding his death, the decedent resided

with Brandon Shofner in Pinson, Alabama and it was her understanding the

decedent intended to remain there. (Doc. 35-1 at 3). She also attests that prior to

his death, the decedent had regularly worked for All My Sons Moving Company in

Homewood, Alabama; Eastern Tree Service in Pinson, Alabama; and Bass Pro

Shops in Irondale, Alabama. (Id. at 2).




3
    Wendy Rice attests this address was “our apartment residence.” (Doc. 35-1 at 3).
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       The plaintiff, by contrast, attests the decedent resided with her at 2773

Snapfinger Manor in Decatur, Georgia at the time of his death, had not resided at

the Alabama address listed on his driver’s license for at least a year at the time of

his death,4 had refused Wendy Rice’s attempts to convince him to return to

Alabama in June 2014, and had traveled to Blount County, Alabama at the time of

his death for a car show. (Doc. 36-1 at 2-3). In further support of her allegation

the decedent was a Georgia citizen at the time of his death, the plaintiff submits the

following evidence: (1) the decedent’s death certificate listing 2773 Snapfinger

Manor, Decatur, Georgia as his residence (id. at 5-7; Doc. 36-4 at 2-4);5 (2) letters

of administration issued by the Probate Court of DeKalb County, Georgia,

indicating the decedent’s domicile in DeKalb County, Georgia as the basis of the

probate court’s jurisdiction (Doc. 36-1 at 9);6 (3) a bill for medical treatment the

decedent received in Atlanta, Georgia on July 9, 2014,7 identifying his address as

2773 Snapfinger Manor, Decatur, Georgia (id. at 12); (4) photos of medication the

plaintiff attests was prescribed for the decedent in connection with the foregoing


4
  Wendy Rice attests 2345 7th Place N.W., Apt. K, Birmingham, Alabama is the address that
appeared on the decedent’s driver’s license. (Doc. 35-1 at 3).
5
  The plaintiff attests Wendy Rice provided the information for the decedent’s death certificate.
(Doc. 36-1 at 3).
6
  A decedent’s residence at the time of death in the county where application for administration
of his estate is made is one basis for a Georgia probate court’s exercise of jurisdiction. O.C.G.A.
§ 15-9-31. For purposes of this Georgia statute, residence is equivalent to domicile. Wright v.
Goss, 494 S.E. 2d 23, 26 (Ga. Ct. App. 1997).
7
  The plaintiff attests the decedent received medical treatment for a hand injury sustained while
working on his car. (Doc. 36-1 at 3).
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treatment and that she further attests the decedent filled in DeKalb County,

Georgia (id. at 3, 13-15);8 (5) the affidavit testimony of Alice Goodman that the

decedent resided at 2773 Snapfinger Manor in Decatur, Georgia with his mother

and was Goodman’s neighbor in July 2014 (Doc. 36-2 at 2); (6) Brandon Shofner’s

statement to the Blount County Sheriff’s Office that on the day of his death the

decedent told Shofner there was “nothing here for him,” “he was going back to Atl.

w/ his mother, ” and “he was going to go see [someone] about a job for money to

get home” (Doc. 36-5 at 2); and (7) a business card for the decedent’s personal

training services printed with the 2773 Snapfinger Manor, Decatur, Georgia

address and a phone number with a Georgia area code (Doc. 36-6 at 2).

III. Discussion

       Subject matter jurisdiction premised on 28 U.S.C. § 1332 requires every

plaintiff to be of diverse citizenship from every defendant. Triggs v. John Crump

Toyota, Inc., 154 F.3d 1284, 1287 (11th Cir. 1998). Where an estate is a party, it is

the citizenship of the decedent at the time of his or her death that is relevant for

purposes of determining diversity. 28 U.S.C. § 1332(c)(2); Moore v. N. Am.

Sports, Inc., 623 F.3d 1325, 1327 (11th Cir. 2010).9 A natural person is a citizen



8
  The photos are too dark and blurry for the undersigned to make out an address printed on the
medication. (See Doc. 36-1 at 13-15).
9
  The citizenship of the estate’s legal representative is relevant to the extent the representative
asserts claims in his or her personal capacity. Leyva v. Daniels, 530 F. App’x 933, 934 (11th Cir.
2013) (citing Palmer v. Hosp. Auth. of Randolph Cnty., 22 F.3d 1559, 1562 n.1 (11th Cir. 1994)).
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of the state where he is domiciled, and domicile requires residence in a state and an

intention to remain there indefinitely.             Travaglio, 735 F.3d at 1269; see also

McCormick v. Aderholt, 293 F.3d 1254, 1257-58 (11th Cir. 2002) (“A person’s

domicile is the place of his true, fixed, and permanent home and principal

establishment, and to which he has the intention of returning whenever he is absent

therefrom . . . .” (internal quotation marks omitted)).10

       Determination of a person’s domicile requires consideration of a variety of

objective facts, including:


       where civil and political rights are exercised, where taxes are paid,
       where real and personal property are located, where driver’s and other
       licenses are obtained, where mail is received, where telephone
       numbers are maintained and listed, where bank accounts are
       maintained, where places of business or employment are located, and
       where memberships in local professional, civil, religious or social
       organizations are established.

Slate v. Shell Oil Co., 444 F. Supp. 2d 1210, 1215 (S.D. Ala. 2006). No one fact is

given controlling weight, but rather, courts look to the totality of the

circumstances.       Id.     Determination of a person’s domicile also requires

consideration of subjective statements of intent. Id. However, such statements are

not dispositive, id., and in fact, the Eleventh Circuit has noted, “[c]ourts generally

The defendants do not dispute the plaintiff, who asserts a claim for loss of consortium in her
personal capacity, is a citizen of Georgia.
10
   The Eleventh Circuit has emphasized “[c]itizenship, not residence, is the key fact that must be
alleged in the complaint to establish diversity for a natural person.” Taylor v. Appleton, 30 F.3d
1365, 1367 (11th Cir. 1994); see also Keshock v. Metabowerke GMBH, 2015 WL 4458858, at *2
(S.D. Ala. July 21, 2015) (collecting Eleventh Circuit cases).
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give little weight to a party’s profession of domicile . . . because these declarations

are often self-serving.” Molinos Valle Del Cibao, C. por A. v. Lama, 633 F.3d

1330, 1342 (11th Cir. 2011); see also Hendry v. Masonite Corp., 455 F.2d 955,

956 (5th Cir. 1972) (“In determining one’s ‘citizenship’ or ‘domicile’ statements of

intent are entitled to little weight when in conflict with facts.”).

      Finally, courts consider certain presumptions to aid their determination of a

person’s domicile. Audi Performance & Racing, LLC v. Kasberger, 273 F. Supp.

2d 1220, 1226 (M.D. Ala. 2003) (noting usefulness of certain presumptions

regarding domicile). There is a presumption a person’s current residence is his or

her domicile. Id.; see also Molinos, 633 F.3d at 1342 (noting it could be presumed

party was domiciled at current residence until controverted by fact). However,

because domicile has a mental or subjective element, it “ ‘is not necessarily

synonymous with “residence,” and one can reside in one place but be domiciled in

another.’” McNeal v. Workmaster, 2009 WL 4508545, at *2 (M.D. Ala. Nov. 30,

2009) (quoting Miss. Band of Choctaw Indians v. Holyfield, 490 U.S. 30, 48

(1989)); see also Molinos, 633 F.3d at 1341-42 (“Domicile is not synonymous with

residence; one may temporarily reside in one location, yet retain domicile in a

previous residence.     Although physically present in the current residence, the

person does not intend to remain in that state indefinitely.”).




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      There is also a century-old presumption that once a person establishes a

domicile in one state, that remains his domicile until he satisfies the physical and

mental requirements of domicile in another. See Mitchell v. United States, 88 U.S.

350, 353 (1874) (“A domicile once acquired is presumed to continue until it is

shown to have been changed.”); Audi, 273 F. Supp. 2d at 1226 (noting

requirements to overcome presumption). “The reason for this presumption is to

solve the problem of locating an individual who has clearly abandoned his present

domicile but either has not arrived at a new one or has arrived without formulating

the intent to stay.” White v. All Am. Cable & Radio, Inc., 642 F. Supp. 69, 72

(D.P.R. 1986) (citing 13E Fed. Prac. & Proc. Juris. § 3612 (3d ed.)); see also Jones

v. Law Firm of Hill and Ponton, 141 F. Supp. 2d 1349, 1355 (M.D. Fla. 2001)

(noting courts refer to presumption of continuing domicile because changes in

residence are so common in this country). The party invoking federal jurisdiction

bears the burden of proving facts supporting its existence by a preponderance of

the evidence, McCormick, 293 F.3d at 1257, and the presumption of continuing

domicile imposes “a heavier burden on a party who is trying to show a change of

domicile than is placed on one who is trying to show the retention of an existing or

former one,” Audi, 273 F. Supp. 2d at 1226.

      Here, the evidence establishes the decedent was domiciled in Alabama in the

years preceding his death. In December 2004, the decedent held an Alabama


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driver’s license and maintained one or more addresses in Birmingham, Alabama.

(Doc. 35-5 at 2).   In August 2012, he held an Alabama driver’s license and

maintained an address in Warrior, Alabama. (Doc. 35-4 at 2). In April 2013, he

and Wendy Rice obtained a marriage license from the Jefferson County, Alabama

Probate Court, and in doing so, the decedent identified his residence as

Birmingham, Alabama. (Doc. 35-3 at 2). Wendy Rice testified she and the

decedent resided in a rental property in Oneonta, Alabama through December 2013

and that the decedent had regularly worked for businesses located in Alabama.

(Doc. 35-1 at 3). The plaintiff has produced no evidence to contradict that the

decedent was domiciled in Alabama during this time. Therefore, the question is

whether the plaintiff has produced evidence sufficient to overcome the

presumption of continuing domicile and show by a preponderance of the evidence

the decedent had acquired a new domicile at the time of his death. See Slate, 444

F. Supp. 2d at 1215-16 (noting a person can have only one domicile at a time).

      As an initial matter, the letters of administration issued by the DeKalb

County Probate Court identifying the decedent’s domicile in DeKalb County,

Georgia as the basis for the probate court’s jurisdiction (Doc. 36-1 at 9) are not

conclusive proof of the decedent’s domicile for purposes of establishing federal

subject matter jurisdiction on the basis of diversity of citizenship. See 13E Fed.

Prac. & Proc. Juris. § 3612 (“Although a wide variety of documents can be entered


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as evidence of a person’s domicile, they are always subject to judicial scrutiny and

evaluation. Even formal declarations made for purposes other than the pending

lawsuit . . . are not conclusive.”). A state probate court’s adjudication of domicile

is not conclusive even for purposes of probate proceedings. See Wilson v. Willard,

358 S.E. 2d 859, 861 (Ga. Ct. App. 1987) (noting adjudication of domicile by

probate court in one state does not preclude conflicting adjudication of domicile by

probate court in another state); 121 A.L.R. 1200 (collecting “long line of cases”

supporting this settled proposition). Given as much, evidence of the decedent’s

residence and domiciliary intent has greater weight on the determination of

domicile in this action than the summary conclusion of domicile contained on the

face of the letters of administration.

      There is conflicting evidence as to where the decedent resided after

December 2013 and in the months immediately preceding his death. However,

even assuming the plaintiff has made a sufficient showing the decedent was

residing in Georgia at the time of his death and had merely traveled to Alabama for

a car show, she has failed to produce preponderating evidence the decedent had

formed the requisite intent to make Georgia his home for an indefinite duration.

      The bill for a single medical encounter the decedent had in Atlanta, Georgia

after an accident (Doc. 36-1 at 12) and the related medication he filled in that state

(id. at 3, 13-15) confirm the decedent’s presence in Georgia in July 2014, but they


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do not speak to his intent to remain there. Similarly, while the decedent’s rejection

of Wendy Rice’s efforts to convince him to return to Alabama in June 2014 (id. at

3) and his statement to Brandon Shofner on the day of his death that there was

“nothing [in Alabama] for him” (Doc. 36-5 at 2) could be viewed as evidence of an

intent to abandon Alabama as his domicile, they are not persuasive evidence of an

intent to make Georgia his fixed home.11 See White, 642 F. Supp. at 72 (noting

assumption of continuing domicile exists to solve problem of locating individual

who has abandoned present domicile without yet acquiring new one).

       Finally, although the decedent’s business card for his personal training

services (Doc. 36-6 at 2) shows the decedent had some notion of remaining in

Georgia long enough that he would need to earn a living there, it lacks indicia of

permanence that would make it more compelling evidence of domiciliary intent.

The address listed on the card is the plaintiff’s home address in Decatur, Georgia

where the plaintiff claims the decedent was residing with her (id.); in other words,

the decedent had not leased or purchased commercial space for his business.

Moreover, the plaintiff has not shown the decedent opened a Georgia bank account


11
   Any evidentiary value of the decedent’s statements to Shofner that “he was going back to Atl.
w/ his mother,” and “was going to go see [someone] about a job for money to get home” is
undercut by the fact that upon leaving Shofner’s residence, the decedent did neither of these
things but, rather, went to the house where Wendy Rice was living in Blount County, Alabama.
(Doc. 36-5 at 2-3). See Molinos, 633 F.3d at 1342 (noting courts generally give little weight to
professions of domicile because such declarations are often self-serving); Hendry, 455 F.2d at
956 (noting statements of intent are entitled to little weight in determining domicile when in
conflict with facts).
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for his business, purchased equipment for his business, had a client who used his

personal training services, or otherwise took any action to establish his business

beyond printing a business card.

IV. Conclusion

      A federal court must zealously ensure the existence of subject matter

jurisdiction. Smith v. GTE Corp., 236 F.3d 1292, 1299 (11th Cir. 2001). It is

obligated to inquire into subject matter jurisdiction sua sponte whenever presented

with the possibility it does not exist, Univ. of S. Alabama v. Am. Tobacco Co., 168

F.3d 405, 410 (11th Cir. 1999), and it must dismiss an action if it determines at any

time that it lacks subject matter jurisdiction, FED. R. CIV. P. 12(h)(3). Here, the

evidence submitted by the plaintiff falls short of overcoming the presumption of

the decedent’s continued Alabama domicile and showing by a preponderance that

at the time of his death the decedent had established a physical presence in Georgia

with an intent to remain there indefinitely. Accordingly, this action is due to be

dismissed without prejudice for lack of subject matter jurisdiction. A separate final

order will be entered.

      DONE this 18th day of October, 2018.



                                              ______________________________
                                              STACI G. CORNELIUS
                                              U.S. MAGISTRATE JUDGE


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